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                 US v DANA JARVIS CR 05-1489 JH
                  STATEMENT BY DEFENDANT

    I admit being a leader of a conspiracy to distribute marijuana in New
    Mexico and elsewhere over a number of years. I understand the
    federal laws involved, as well as the penalties. Because of this
    understanding, I have agreed to a plea bargain which requires that I
    serve a lengthy term of incarceration. However, I would like the court
    and prosecution to understand that I am not merely a “criminal” and
    that the illegal acts I have committed are not all there is to the person
    being harshly punished.

    I love my children dearly and I have always tried to do my best for
    them. Like most parents, I have made mistakes. The fact that, through
    the plea agreement, I was able to make sure their futures are a bit
    more secure was an important reason for my accepting it. I am not a
    violent person. My only prior conviction is for a misdemeanor eleven
    years ago. I supplied a product because there was a demand for it,
    like most businesses. I did not deal in hard drugs. I sincerely hope
    the Court believes me when I say that the amounts of marijuana
    and money involved were far less than what was alleged in the
    Indictment and the PSR. I have openly and fully accepted
    responsibility for my conduct and just hope that the PSR will be
    amended to state the complete truth.

    Marijuana is a relatively benign substance which has been shown to
    assist individuals suffering from the negative results of chemotherapy
    for cancer, glaucoma and AIDS wasting disease, without the negative
    side effects. A number of states, including New Mexico, have
    legalized marijuana for medical purposes and some have
    decriminalized personal use. Marijuana is a proven analgesic, which
    was prescribed to and used by Queen Victoria, among many others,
    for pain. It is the largest cash crop in the United States, and its
    legalization and taxation would help in relieving the nation of its
    current financial difficulties. There is no evidence that the use of
    marijuana leads to hard drug use, but there is a lot of evidence that
    legal substances, such as tobacco and alcohol are far more harmful to
    people than marijuana.
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    What I am saying is that what I did, in my opinion, and in the opinions of
    many others, does not merit the period of incarceration to which I agreed. I
    am asking, however, that the Court accept the plea agreement, as I accept
    full responsibility for my illegal conduct.

    /S/ DANA JARVIS
